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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:09CR383
                              )
          v.                  )
                              )
LUIS A. TREJO-DIAZ,           )                       ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

for dismissal without prejudice (Filing No. 74) of the indictment

against defendant Luis A. Trejo-Diaz.           The Court finds the motion

should be granted.      Accordingly,

          IT IS ORDERED that the motion for dismissal is granted.

The indictment against Luis A. Trejo-Diaz is dismissed without

prejudice.

          DATED this 12th day of July, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
